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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KELLY PRICE,

                                Plaintiff,
                                                                   15-CV-5871 (LAP)
                    -against-
                                                                         ORDER
DETECTIVE LINDA SIMMONS ET AL.,

                                Defendants.

LORETTA A. PRESKA, Chief United States District Judge:

       Plaintiff filed this action pro se. On October 19, 2015, the Court held that Plaintiff’s

amended complaint failed to state a claim on which relief could be granted but granted Plaintiff

leave to amend her complaint. Plaintiff did not file an amended complaint, and the deadline for

doing so expired. On December 23, 2015, the Court therefore dismissed this action.

       Shortly thereafter, on December 28, 2015, Plaintiff filed motions (ECF Nos. 8-9) seeking

reconsideration of the order of dismissal and an extension of time to amend her complaint. The

Court construes Plaintiff’s motion for reconsideration as arising under Rule 59(e) of the Federal

Rules of Civil Procedure and Local Civil Rule 6.3. For the reasons set forth below, Plaintiff’s

motion for reconsideration is granted.


                                             DISCUSSION
       On January 22, 2016, before the Court ruled on Plaintiff’s motion for reconsideration,

Plaintiff filed a notice of appeal. Generally, “[t]he filing of a notice of appeal is an event of

jurisdictional significance – it confers jurisdiction on the court of appeals and divests the district

court of its control over those aspects of the case involved in the appeal.” Griggs v. Provident

Consumer Discount Co., 459 U.S. 56, 58 (1982); Ryan v. United States Line Co., 303 F.2d 430,

434 (2d Cir. 1962) (holding that the docketing of a notice of appeal “ousts the district court of
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jurisdiction except insofar as it is reserved to it explicitly by statute or rule.”). By statute,

however, “[i]f a party files a notice of appeal after the court announces or enters a judgment – but

before it disposes of [a Rule 59(e) motion] – the notice becomes effective to appeal a judgment

or order, in whole or in part, when the order disposing of the last such remaining motion is

entered.” Fed. R. App. P. 4(a)(4)(B)(i).

        Here, Plaintiff’s appeal was docketed after entry of judgment but before the Court

disposed of Plaintiff’s December 28, 2015 motion under Rule 59(e). Under Fed. R. App. P.

4(a)(4)(B)(i), the Court thus has jurisdiction to resolve the Rule 59(e) motion because the notice

of appeal is not yet effective. See, e.g., Stewart Park & Reserve Coal. Inc. (SPARC) v. Slater,

374 F. Supp. 2d 243, 252 (N.D.N.Y. 2005) (reasoning that “application of Appellate Rule 4

effectively renders the appeal to the Court of Appeals in abeyance pending the district court’s

determination of the post-judgment motion.”).

        Reconsideration of a court’s judgment under Rule 59(e) is an “extraordinary remedy to be

employed sparingly in the interests of finality and conservation of scarce judicial resources.”

USA Certified Merchants, LLC v. Koebel, 273 F. Supp. 2d 501, 503 (S.D.N.Y. 2003) (citations

omitted). “A court is justified in reconsidering its previous ruling if: (1) there is an intervening

change in the controlling law; (2) new evidence not previously available comes to light; or (3) it

becomes necessary to remedy a clear error of law or to prevent obvious injustice.” Slater, 374 F.

Supp. 2d at 253 (citing Atl. States Legal Found., Inc. v. Karg Bros., Inc., 841 F. Supp. 51, 53

(N.D.N.Y. 1993)).

        The Court dismissed this action on the ground that Plaintiff failed to file an amended

complaint as directed. In her application, Plaintiff indicates that despite her failure to file an

amended complaint, she has been taking various steps to seek relief, including seeking counsel



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and additional evidence. It therefore appears that Plaintiff did not intend to fail to prosecute this

action. Accordingly, the Court grants Plaintiff’s motion to reconsider the order of dismissal.


                                          CONCLUSION
       The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket. Plaintiff’s motion for reconsideration (ECF No. 8) is granted, and the Clerk of Court

is directed to vacate the order of dismissal (ECF No. 6) and reopen this action. Plaintiff’s motion

for an extension of time to file an amended complaint (ECF No. 9) is granted, and the Court

directs Plaintiff to file an amended complaint, as set forth in the October 19, 2015 order to

amend, within 30 days of this order.1

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would

not be taken in good faith, and therefore in forma pauperis status is denied for the purpose of an

appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       SO ORDERED.

Dated: January 26, 2016
       New York, New York




1
 As Plaintiff points out, her initial complaint was filed on July 24, 2015, and thus the order to
amend should have indicated that her claims under 42 U.S.C. § 1983 arising more than three
years prior to July 24, 2015, appeared to be time barred – not claims arising more than three
years prior to the filing of her amended complaint on August 13, 2015.

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